      Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 1 of 29



                     UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF PENNSYLVANIA



LAMBETH MAGNETIC STRUCTURES,        ) Civil Action No. 2:16-cv-00541-CB
LLC,                                )
                                    ) Judge Cathy Bissoon
                                    )
          Plaintiff,                )
                                    )                  REDACTED
                   v.               )
                                    )
WESTERN DIGITAL CORPORATION,        )
WESTERN DIGITAL TECHNOLGIES, INC., )
WESTERN DIGITAL (FREMONT), LLC,     )
                                    )
WESTERN DIGITAL (THAILAND)          )
COMPANY LIMITED, WESTERN DIGITAL )
(MALAYSIA) SDN.BHD, and HGST, INC., )
                                    )
          Defendants.               )
                                    )


BRIEF IN SUPPORT OF PLAINTIFF LAMBETH MAGNETIC STRUCTURES, LLC’S
                  MOTION FOR SUMMARY JUDGMENT
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 2 of 29



                                                 TABLE OF CONTENTS

                                                                                                                                         Page



I.      INTRODUCTION ............................................................................................................... 1 

II.     LEGAL STANDARDS ....................................................................................................... 2 

        A.        Summary Judgment ................................................................................................. 2 

        B.        Invalidity ................................................................................................................. 3 

III.    ARGUMENT ...................................................................................................................... 3 

        A.        LMS Is Entitled to Summary Judgment on Western Digital’s 35 U.S.C.
                  §§ 102 and 103 Defenses......................................................................................... 3 

        B.        LMS Is Entitled to Summary Judgment that Siemens GMR 6 Does Not
                  Invalidate the ’988 Patent Under 35 U.S.C. §§ 102(a), 102(b), and/or
                  102(g) ...................................................................................................................... 7 

                  1.         Western Digital’s Evidence Is Insufficient to Prove Invalidity................... 9 

                  2.         Western Digital Failed To Prove by Clear and Convincing
                             Evidence that Siemens GMR 6 “Was Made” in the United States
                             Before the Filing Date of the ’988 Patent.................................................. 12 

                  3.         Western Digital Failed To Prove by Clear and Convincing
                             Evidence that Siemens GMR 6 “Was Sold” in the United States
                             Before the Critical Date of the ’988 Patent ............................................... 13 

                  4.         Western Digital Failed To Prove by Clear and Convincing
                             Evidence that Siemens GMR 6 “Was Offered for Sale” in the
                             United States Before the Critical Date of the ’988 Patent ......................... 13 

                  5.         Western Digital Failed To Prove that the Analyzed Sample GMR
                             Product Corresponds to What Is Described in the Documents on
                             Which It Relies to Establish an On-Sale Date ........................................... 18 
                  6.         Western Digital Also Did Not Prove Anticipation by Clear and
                             Convincing Evidence Under Sections 102(a) and 102(g) ......................... 21 

        C.        LMS Is Entitled to Summary Judgment on Western Digital’s Affirmative
                  Defenses of License and Unclean Hands and Its Withdrawn Defenses ................ 21 

                  1.         License....................................................................................................... 21 

                  2.         Unclean Hands .......................................................................................... 22 

                  3.         Western Digital’s Withdrawn Affirmative Defenses ................................ 23 

IV.     CONCLUSION ................................................................................................................. 23 

                                                                    i
           Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 3 of 29



                                              TABLE OF AUTHORITIES
                                                                                                                                  Page

CASES 

A.K. Stamping Co. v. Instrument Specialties Co.,
       106 F. Supp. 2d 627 (D.N.J. 2000).................................................................................... 15

Allen Eng. Corp. v. Bartell Indus., Inc.,
       299 F.3d 1336 (Fed. Cir. 2002) ........................................................................................... 8

Anderson v. Liberty Lobby, Inc.,
      477 U.S. 242 (1986) ............................................................................................................ 2

Apotex USA, Inc. v. Merck & Co.,
       254 F.3d 1031 (Fed. Cir. 2001) ........................................................................................... 8

Asetek Danmark A/S v. CMI USA, Inc.,
       100 F. Supp. 3d 871 (N.D. Cal. 2015)................................................................................. 4

Celotex Corp. v. Catrett,
       477 U.S. 317 (1986) ............................................................................................................ 2

Checkpoint Sys., Inc. v. U.S. Int’l Trade Comm’n,
      54 F.3d 756 (Fed. Cir. 1995) ............................................................................................... 3

Grp. One, Ltd. v. Hallmark Cards, Inc.,
      254 F.3d 1041 (Fed. Cir. 2001) ..................................................................................... 8, 13

Impression Prods., Inc. v. Lexmark Int’l, Inc.,
       137 S. Ct. 1523 (2017) .................................................................................................. 2, 21

Jazz Photo Corp. v. Int'l Trade Comm’n,
       264 F.3d 1094 (Fed. Cir. 2001) ..................................................................................... 2, 21

Johnson & Johnson v. W. L. Gore & Assocs., Inc.,
      436 F. Supp. 704 (D. Del. 1977) ................................................................................... 8, 21

Judkins v. HT Window Fashions Corp.,
       624 F. Supp. 2d 427 (W.D. Pa. 2009) .................................................................................. 2

Linear Tech. Corp. v. Micrel, Inc.,
       275 F.3d 1040 (Fed. Cir. 2001) ......................................................................... 8, 14, 15, 16

Net MoneyIN, Inc. v. VeriSign, Inc.,
      545 F.3d 1359 (Fed. Cir. 2008) ........................................................................................... 3

Nextec Applications v. Brookwood Companies, Inc.,
       703 F. Supp. 2d 390 (S.D.N.Y. 2010) ................................................................................. 3


                                                                  ii
            Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 4 of 29



Nextec Applications, Inc. v. Brookwood Companies, Inc.,
       542 F. App’x 995 (Fed. Cir. 2013) ...................................................................................... 3

Pfaff v. Wells Elecs.,
        525 U.S. 55 (1998) ............................................................................................................ 13

SCA Hygiene Prod. Aktiebolag v. First Quality Baby Prod., LLC,
      137 S. Ct. 954 (2017) ........................................................................................................ 23

Sciele Pharma Inc. v. Lupin Ltd.,
        684 F.3d 1253 (Fed. Cir. 2012) ........................................................................................... 3

Univ. of Pittsburgh of Com. Sys. of Higher Educ. v. Varian Med. Sys., Inc.,
       Case No. 08-01307, 2011 WL 10604064 (W.D. Pa. Dec. 30, 2011) ................................ 22

Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Varian Med.
       Sys., Inc.,
       561 F. App’x 934 (Fed. Cir. 2014) .................................................................................... 22

Woodland Tr. v. Flowertree Nursery, Inc.,
      148 F.3d 1368 (Fed. Cir. 1998) ........................................................................................... 7

Xerox Corp. v. 3Com Corp.,
       458 F.3d 1310 (Fed.Cir.2006) ............................................................................................. 3

STATUTES 

35 U.S.C. § 102 ............................................................................................................... 3, 7, 21, 23

35 U.S.C. § 102(a) ............................................................................................................. 7, 8, 9, 21

35 U.S.C. § 102(b)................................................................................................................... 7, 8, 9

35 U.S.C. § 102(g)............................................................................................................. 7, 8, 9, 21

35 U.S.C. § 116 ............................................................................................................................. 23

35 U.S.C. § 286 ............................................................................................................................. 23




                                                                     iii
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 5 of 29



       Plaintiff Lambeth Magnetic Structures, LLC (“Plaintiff” or “LMS”) moves for partial

summary judgment on several Defendants Western Digital Corporation, Western Digital

Technologies, Inc., Western Digital (Fremont), LLC, Western Digital (Thailand) Company

Limited, Western Digital (Malaysia) SDN.BHD, and HGST, Inc.’s (collectively, “Western

Digital”) affirmative defenses. Specifically, LMS seeks partial summary judgment in its favor on

Western Digital’s Third Affirmative Defense (Invalidity of the ’988 Patent) as to 35 U.S.C.

§§ 102, 103, and 116, and summary judgment on Western Digital’s Tenth (Express or Implied

License), Twelfth (Uncorrectability of Inventorship for the ’988 Patent), Thirteenth (Lack of

Standing), Fourteenth (Laches) and Fifteenth (Unclean Hands) Affirmative Defenses.

I.     INTRODUCTION

       Plaintiff LMS asserts that Western Digital infringes United States Patent No. 7,128,988

(“the ’988 Patent”) by making, using and selling hard drives that include the novel magnetic

structure claimed in the ’988 Patent. LMS’s infringement proof is comprised of extensive

reverse engineering establishing that hundreds of Western Digital products practice the ’988

Patent. In response to this extensive proof, Western Digital primarily attempts (but fails) to poke

holes in LMS’s extensive reverse engineering evidence, coming forward with few, if any,

affirmative noninfringement arguments.

       As to invalidity, Western Digital advances anticipation and obviousness arguments that

are facially flawed. Western Digital’s primary defenses appear to be the fact-intensive defenses

of patent eligibility, written description, and enablement, each of which is heavily contested by

LMS. Western Digital also advances a plethora of defenses that attempt to limit or avoid its

exposure for infringement of LMS’s novel and critical technology, including, for example,

unclean hands, license, and other similar defenses. But although Western Digital has pleaded

these defenses, it has failed to come forward with any evidence in discovery to support them.


                                               -1-
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 6 of 29



Hence, partial summary judgment on each of Western Digital’s challenged affirmative defenses

should be granted as set forth herein.

II.    LEGAL STANDARDS

       A.      Summary Judgment

       “Summary judgment is appropriate in a patent case, as in all other cases, when it is

apparent from the entire record, viewed in the light most favorable to the non-moving party, that

there are no genuine issues of material fact.” Judkins v. HT Window Fashions Corp., 624 F.

Supp. 2d 427, 434 (W.D. Pa. 2009). Summary judgment should be entered against a party “who

fails to make a sufficient showing to establish the existence of an element essential to that party’s

case, and on which that party will bear the burden of proof at trial.” Id. (citing and quoting

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). In deciding a summary judgment motion, a

court must “view the evidence presented through the prism of the substantive evidentiary burden.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254 (1986).

       This motion challenges many of Western Digital’s affirmative defenses; Western Digital

has the burden of proof on these defenses. “The burden of establishing an affirmative defense is

on the party raising the defense.” Jazz Photo Corp. v. Int'l Trade Comm’n, 264 F.3d 1094, 1102

(Fed. Cir. 2001), abrogated on other grounds by Impression Prods., Inc. v. Lexmark Int’l, Inc.,

137 S. Ct. 1523 (2017). Further, in the absence of evidence supporting these defenses, LMS is

entitled to summary judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986) (“[t]he plain

language of Rule 56(c) mandates the entry of summary judgment . . . against a party who fails to

make a showing sufficient to establish the existence of an element essential to that party’s case,

and on which that party will bear the burden of proof at trial.”).




                                                -2-
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 7 of 29



       B.      Invalidity

       Invalidity of a patent claim must be proven by clear and convincing evidence. Sciele

Pharma Inc. v. Lupin Ltd., 684 F.3d 1253, 1260 (Fed. Cir. 2012). Additionally, the factual

predicates for an invalidity assertion must be established by clear and convincing evidence. See

Checkpoint Sys., Inc. v. U.S. Int’l Trade Comm’n, 54 F.3d 756, 761 n.5 (Fed. Cir. 1995)

(concluding that the party asserting invalidity “bore the burden of establishing, by clear and

convincing evidence, facts which support the ultimate legal conclusion of invalidity”).

III.   ARGUMENT

       Western Digital has failed to adduce sufficient evidence to meet its burden of proof with

respect to any of its affirmative defenses addressed herein, and thus LMS is entitled to summary

judgment on each.

       A.      LMS Is Entitled to Summary Judgment on Western Digital’s 35 U.S.C.
               §§ 102 and 103 Defenses

       Under 35 U.S.C. § 102, a claim is anticipated only if each claim limitation is disclosed in

a single prior art reference, arranged as in the claim. Net MoneyIN, Inc. v. VeriSign, Inc., 545

F.3d 1359, 1369 (Fed. Cir. 2008). In order to demonstrate anticipation, the proponent must show

“that the four corners of a single, prior art document describe every element of the claimed

invention.” Id. (quoting Xerox Corp. v. 3Com Corp., 458 F.3d 1310, 1322 (Fed.Cir.2006); see

also Nextec Applications v. Brookwood Companies, Inc., 703 F. Supp. 2d 390, 425 (S.D.N.Y.

2010), aff'd sub nom, Nextec Applications, Inc. v. Brookwood Companies, Inc., 542 F. App’x 995

(Fed. Cir. 2013) (granting summary judgment of no anticipation because the prior art references

did not disclose each element of the asserted claims).

       Under 35 U.S.C. § 103, to establish obviousness of a claimed invention, all claim

limitations must be taught or suggested by the prior art. See CFMT, Inc. v. Yieldup Int’l Corp.,

349 F.3d 1333, 1342 (Fed. Cir. 2003); In re Royka, 490 F.2d 981, 985 (CCPA 1974); see also

                                               -3-
         Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 8 of 29



Asetek Danmark A/S v. CMI USA, Inc., 100 F. Supp. 3d 871, 886 (N.D. Cal. 2015) (finding no

obviousness because the prior art references “do not teach, disclose, or suggest each and every

limitation of the asserted claims”).

         Western Digital offered one expert, Dr. Mark Kryder, in support of its claim that certain

references anticipate or render obvious the asserted claims of the ’988 Patent. Dr. Kryder opined

that various references anticipate or render obvious the asserted claims of the ’988 Patent. But

Dr. Kryder’s opinions fail as a matter of law because Dr. Kryder failed to show that at least one

element of each asserted claim is present in the asserted prior art references, a defect that

Western Digital cannot cure. Dr. Kryder did not even attempt to show that any of Western

Digital’s asserted 102 or 103 references meet the “uniaxial” requirement that is present in every

asserted claim according to the Court’s Claim Construction. Because Western Digital has failed

to provide expert testimony that its prior art references meet this limitation of the asserted claims,

LMS is entitled to summary judgment on Western Digital’s anticipation and obviousness

defenses.

         The Court construed “uniaxial” to mean “having an anisotropy energy density function

with only a single maximum and a single minimum as the magnetization angle is rotated by 180

degrees from a physical axis.” Dkt. 88 at 14. Dr. Kryder did not calculate, cite, graph, or

otherwise depict an energy density function for any of Western Digital’s alleged prior art – let

alone show that any of the references have an anisotropy energy density function that meets the

requirements of the Court’s construction—in his expert report. CSMF1 at ¶4; App. Ex. A.

LMS’s expert on validity and infringement, Dr. Kevin Coffey, pointed out this failure in his

responsive report for each asserted prior art reference. CSMF at ¶6; App. Ex. B at ¶¶ 283, 286,

   1
       Plaintiff’s Concise Statement of Material Facts (“CSMF”) is incorporated herein.




                                                -4-
Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 9 of 29
Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 10 of 29
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 11 of 29




                                    Dr. Kryder did not. Dr. Kryder acknowledges both that

infringement is a lower burden of proof and that he did not provide anisotropy energy density

function calculations for the asserted prior art in his expert reports. Thus, because Western

Digital has not and cannot come forward with clear and convincing evidence that any of its

asserted 102 or 103 prior art references meet the “uniaxial” requirement of the asserted claims,

LMS is entitled to summary judgment on Western Digital’s anticipation and obviousness

defenses.

       B.      LMS Is Entitled to Summary Judgment that Siemens GMR 6 Does Not
               Invalidate the ’988 Patent Under 35 U.S.C. §§ 102(a), 102(b), and/or 102(g)

       Western Digital fails to prove by clear and convincing evidence that the Siemens Giant

Magneto Resistor 6 (“Siemens GMR 6”) invalidates the ’988 Patent under 35 U.S.C. §§ 102(a),

102(b), and/or 102(g).

       In relevant part, 35 U.S.C. § 102 states that a person shall be entitled to a patent unless:

               (a) the invention was known or used by others in this country, or
               patented or described in a printed publication in this or a foreign country,
               before the invention thereof by the applicant for patent, or
               (b) the invention was patented or described in a printed publication in
               this or a foreign country or in public use or on sale in this country, more
               than one year prior to the date of the application for patent in the United
               States, or ...
               (g) ... (2) before the applicant’s invention thereof the invention was made
               in this country by another who had not abandoned, suppressed, or
               concealed it ... 35 U.S.C. § 102.
       Under Section 102(a) and 102(g), the relevant date is the “date of invention.” “[I]f the

invention was known to or used by others in this country before the date of the patentee’s

invention, the later inventor has not contributed to the store of knowledge, and has no entitlement

to a patent.” Woodland Tr. v. Flowertree Nursery, Inc., 148 F.3d 1368, 1370 (Fed. Cir. 1998).

Thus, “in order to invalidate a patent based on prior knowledge or use, that knowledge or use


                                                -7-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 12 of 29



must have been available to the public.” Id. With respect to devices, the knowledge or use

required by § 102(a) is public knowledge of a complete and operative device. Johnson &

Johnson v. W. L. Gore & Assocs., Inc., 436 F. Supp. 704, 711 (D. Del. 1977). To prove

invalidity pursuant to § 102(g), the accused infringer must prove that the invention “has been

made [in this country] by another, prior inventor who has not abandoned, suppressed, or

concealed it” prior to the inventor’s invention thereof. Apotex USA, Inc. v. Merck & Co., 254

F.3d 1031, 1035 (Fed. Cir. 2001).

       To trigger the on-sale bar under Section 102(b), the alleged infringer must prove that the

product sold or offered for sale more than one year before the filing date “fully anticipated the

claimed invention or would have rendered the claimed invention obvious by its addition to the

prior art.” Allen Eng. Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1352 (Fed. Cir. 2002)

(internal citations omitted). Only an offer which rises to the level of a commercial offer for sale,

one which the other party could make into a binding contract by simple acceptance, assuming

consideration, constitutes an “offer for sale” rendering a patent invalid under the on-sale bar.

Grp. One, Ltd. v. Hallmark Cards, Inc., 254 F.3d 1041, 1048 (Fed. Cir. 2001). “Mere

advertising and promoting of a product may be nothing more than an invitation for offers, while

responding to such an invitation may itself be an offer.” Id. Dissemination of advertising

materials and other information such as preliminary data sheets and newsletters does not

constitute a commercial offer for sale, “but rather la[ys] the necessary groundwork

for future offers.” Linear Tech. Corp. v. Micrel, Inc., 275 F.3d 1040, 1050 (Fed. Cir. 2001). “In

the absence of a clear indication to the contrary, the communications between the [] sales

representatives and the customers must be regarded as merely preliminary negotiations at most

designed to enable customers to submit offers to buy.” Id. “[M]ere publication of preliminary

data sheets and promotional information for the [product] communicates nothing to customers


                                                -8-
         Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 13 of 29



about [the seller’s] intent, and thus cannot be an offer for sale.” Id. Such activities only indicate

preparation to place the product on sale and cannot give rise to an on-sale bar. Id.

         In this case, the provisional application for the ’988 Patent was filed on August 29, 2001.

LMS is at least entitled to an invention date of August 29, 2001. App. Ex. A at ¶ 180. LMS

claims a conception date of April of 2000. App. Ex. E at 3. Thus, to prove invalidity pursuant to

Sections 102(a) and (g), Western Digital must prove that the Siemens GMR 6 predates either

April 2000 or August 2001 by clear and convincing evidence. For Section 102(b), Western

Digital must prove by clear and convincing evidence that the GMR 6 was on sale in the United

States before August 29, 2000. Western Digital cannot prove that GMR 6 precedes any of these

dates.

                1.      Western Digital’s Evidence Is Insufficient to Prove Invalidity

         Dr. Kryder, Western Digital’s expert, relies on the following documents to attempt to

establish that the Siemens GMR 6 was made in the United States before the August 29, 2001

priority date of the ’988 patent, or was sold or offered for sale more than one year prior to that:

                a. Siemens Magnetic Sensors, Giant Magneto Resistors, Application
                   Notes dated “10.98” (“Siemens GMR Application Notes”). App.
                   Ex. F.

                b. Infineon GMR S6 Data Sheet dated April 1, 1999 (“Infineon GMR S6
                   Data Sheet”). App. Ex. G.

                c. Excerpts from Thin Film Magnetoresistive Sensors book, Institute of
                   Physics Publishing, S. Tumanski (“Tumanski”) published in 2001.
                   App. Ex. H.

                d. 2-page excerpt from crcpress.com website showing a book titled “Thin
                   Film Magnetoresistive Sensors” by S. Tumanski (“Tumanski 2 Cover
                   Page”) available for sale with a published date of June 8, 2001. App.
                   Ex. I.

                e. EE Times Article titled “Siemens names chip spinoff Infineon” (“EE
                   Times Article”) published on 3/17/1999. App. Ex. J.




                                                -9-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 14 of 29



       Dr. Kryder also relies on the following documents to provide his opinions regarding the

Siemens GMR 6:

               f. Packing Slip for a purchase of a 50 GMRS6/Infineon parts from North
                  Star Micro Electronics LLC (“Packing Slip”), with a purchase date of
                  10/18/2016. App. Ex. K.

               g. Certificate of Conformance from North Star (“Certificate of
                  Conformance”) dated 10/18/2016. App. Ex. L.

               h. Sample GMR product (“Sample GMR Product”) tested and analyzed
                  by Sinclair, as discussed in his Opening and Reply reports. App. Exs.
                  M and N.

       None of these documents provides clear and convincing evidence that the Siemens GMR

6 was made in the United States before the filing date of the ’988 Patent or sold or offered for

sale more than a year prior.

       The Siemens GMR Application Notes were published in Germany. CSMF ¶13; App. Ex.

F at WD233102. The “Ordering Information” page provided in the Siemens GMR Application

Notes shows all phone numbers, fax numbers, and addresses in Germany, and none in the United

States. Id. at ¶14; App. Ex. F at WD233118. And this document only references Siemens

locations in the United States when it lists Siemens locations in California and New Jersey as

part of Siemens’s “Global PartnerChip for Systems on Silicon.” Id. at ¶15; App. Ex. F at

WD233119.

       The Infineon GMR S6 Data Sheet provides technical information about the GMR S6.

CSMF at ¶20; App. Ex. G;

       The Tumanski reference states “in 1999 Siemens AG introduced into the market

magnetic sensors based on the GMR principle.” CSMF at ¶24; App. Ex. H at WD012666. No

information about which market the magnetic sensors were introduced into is provided in the

Tumanski reference. Tumanski also states that “not all details of this sensor are published.” Id.



                                               -10-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 15 of 29



       The Tumanski 2 Cover Page reference is just a cover page that shows a different

publisher than the Tumanski reference. CSMF at ¶29; App. Ex. I.

       The EE Times Article states that “Siemens AG today said its semiconductor spinoff will

be called Infineon Technologies AG when it is officially formed on April 1[, 1999].” CSMF at

¶33; App. Ex. J at WD233097. There is no mention of the Siemens GMR 6 in the EE Times

Article.

       The Packing Slip shows that North Star Micro Electronics LLC shipped 50 GMR S6

parts to Latham and Watkins on October 18, 2016. CSMF at ¶36; App. Ex. K.

       The Certificate of Conformance states that “North Star Micro Electronics LLC maintains

records which will prove these materials are sourced from the correct manufacturer, or wholesale

source of the correct manufacturer.” CSMF at ¶38; App. Ex. L.

       Thus, no evidence shows that the GMR 6 product allegedly procured in 2016 and later

tested by Western Digital’s expert was made or used by others in the United States before the

filing date, much less that it was on sale in the United States before August 29, 2000.

Additionally, the “evidence” provided by Western Digital undermines their invalidity theory

because the product tested appears to have a different structure than is shown or described in any

of Western Digital’s proffered publications. Simply put, the testing and analysis performed on

the Sample GMR Product demonstrates that the analyzed sample does not match the products

described in the GMR Application Notes or the Tumanski reference.

       First, the images from the reverse engineering performed on the Sample GMR Product

indicate a presence of at least 14 layers with a total thickness of 40nm. CSMF at ¶47; App. Ex.

M, Sinclair Opening Report at ¶¶ 34-37. But the GMR Application Notes and Tumanski

describe an 11-layer structure with a total thickness of 25 nm. CSMF at ¶48; App. Ex. F at

WD233106; App. Ex. H at WD012666. Second, in the analyzed Sample GMR Product it is


                                              -11-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 16 of 29



undisputed that cobalt (Co) is present at approximately the 13.1 nm and 25.3 nm locations on the

horizontal scale. CSMF at ¶50; Ex. M. But no cobalt (Co) is shown at those locations in either

the GMR Application Notes or the Tumanski reference, as those locations do not correspond to

the three cobalt layers depicted in Western Digital’s supporting GMR 6 documentation. Id. at

¶52. Simply put, there is cobalt present in the Sample GMR 6 that is unaccounted for in the

documentation. Third, the thickness of the individual layers in the Sample GMR Product is not

uniform, while the thickness of the individual layers in the GMR Application Notes and

Tumanski is. Id. at ¶¶ 53-54.

       Thus, the product described in the documents on which Western Digital relies to

demonstrate sale or offer for sale is not the product which Western Digital’s experts analyzed to

show that it allegedly contained every claim limitation of the asserted claims.

               2.     Western Digital Failed To Prove by Clear and Convincing Evidence
                      that Siemens GMR 6 “Was Made” in the United States Before the
                      Filing Date of the ’988 Patent

       Western Digital provided no evidence that the Siemens GMR 6 was made (or

manufactured) in the United States before August 29, 2001, the filing date of the ’988 patent.3

None of the documents cited by Dr. Kryder or any other evidence demonstrate the making or

manufacturing of the GMR 6 sensors in the United States at any point. Thus, Western Digital

cannot prove by clear and convincing evidence that the Siemens GMR 6 qualifies as prior art.




   3
     LMS believes that the priority date for the ’988 Patent should be April 26, 2000, as
opposed to the August 29, 2001 date asserted by Western Digital. See Coffey Rebuttal Report
¶¶ 270-277, App. Ex. B.




                                              -12-
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 17 of 29



                3.      Western Digital Failed To Prove by Clear and Convincing Evidence
                        that Siemens GMR 6 “Was Sold” in the United States Before the
                        Critical Date of the ’988 Patent

        Western Digital provided no evidence that the Siemens GMR 6 was sold in the United

States more than one year before the August 29, 2001 filing date of the ’988 Patent. In fact, the

only document in evidence showing a sale of GMR 6 product is a packing slip from North Star

Micro Electronics LLC showing a sale of 50 GMR S6 parts to Latham and Watkins, Western

Digital’s counsel in this litigation, on October 18, 2016—15 years after the priority date of the

’988 patent. See App. Ex. K. Thus, Western Digital has failed to raise a genuine issue of

material fact as to whether the Siemens GMR 6 was sold in the United States more than one year

prior to the filing date of the ’988 patent, or before the filing date at all.

                4.      Western Digital Failed To Prove by Clear and Convincing Evidence
                        that Siemens GMR 6 “Was Offered for Sale” in the United States
                        Before the Critical Date of the ’988 Patent

        Western Digital failed to prove by clear and convincing evidence that more than one year

before the August 29, 2001 filing date (or even before the filing date), the Siemens GMR 6 was

the subject of a commercial offer for sale in the United States. See Pfaff v. Wells Elecs., 525

U.S. 55, 67 (1998). None of the documents cited by Dr. Kryder rise to the level of a commercial

offer for sale of the Siemens GMR 6 sensor in the United States, “one which the other party

could make into a binding contract by simple acceptance.” Grp. One, Ltd. v. Hallmark Cards,

Inc., 254 F.3d 1041, 1048 (Fed. Cir. 2001).

                                (1)      Siemens GMR Application Notes

        Dr. Kryder relies on Siemens Magnetic Sensor Application Notes from October 1998 to

allege that there was a commercial offer for sale for the Siemens GMR 6 in the United States.

See App. Ex. F. However, this document mainly describes technical characteristics of Siemens’

Giant Magneto Resistors and nowhere does it say that any of these GMRs were commercially


                                                  -13-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 18 of 29



offered for sale in the United States. See Linear Tech. Corp, 275 F.3d at 1050 (“Mere

publication of preliminary data sheets and promotional information for the [product]

communicates nothing to customers about [the seller’s] intent, and thus cannot be an offer for

sale.”). The Siemens GMR Application Notes has no pricing information; it states that it was

published in Munich, Germany by Siemens AG and all phone numbers, fax numbers, webpages

and addresses on the Ordering Information page are in Germany, completely failing to identify

any ordering locations in the United States where the Siemens GMR 6 was available for

purchase. CSMF at ¶15; App. Ex. F at WD233102; WD233118. Indeed, the only mention of any

U.S. location is a single reference to locations in California and New Jersey as part of Siemens’s

“Global PartnerChip for Systems on Silicon.” Id. at WD233119. Western Digital presented no

evidence that one could order products from these locations at the relevant time.




                                              -14-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 19 of 29




CSMF at ¶14; App. Ex. F at WD233118.

       The “Ordering Information” page (shown above) is the closest this document comes to

any evidence of an offer for sale, but as stated in Linear Tech., while advertising and product

promotion may be the catalyst for purchasing offers, such communications do not constitute

commercial offers, and thus cannot trigger the on-sale bar. 275 F.3d at 1050. On the Ordering

Information page there are no details about specific products one could order, the price of the

products, the quantity or the delivery method on this page. See A.K. Stamping Co. v. Instrument

Specialties Co., 106 F. Supp. 2d 627, 641 (D.N.J. 2000) (“unlike many cases where a pre-

critical-date commercial offer was found, there is no evidence before this Court of a purchase

order, delivery of a sample, or any promise of future delivery”). In fact, the information on this

                                               -15-
        Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 20 of 29



page simply directs one that they may order further information about the magnetic sensors. See

App. Ex. F.

       Thus, the Siemens GMR Application Notes does not rise to a commercial offer for sale of

Siemens GMR 6 in the United States more than one year prior to August 29, 2001.

                               (2)     Infineon GMR S6 Data Sheet

       Dr. Kryder next relies on Infineon GMR S6 Data Sheet dated April 1, 1999 to allege a

commercial offer for sale. See App. Ex. G. This document solely provides technical information

about the GMR S6, but nowhere does it say that the GMR was commercially offered for sale in

the United States. See Linear Tech. Corp, 275 F.3d at 1050 (“Mere publication of preliminary

data sheets and promotional information for the [product] communicates nothing to customers

about [the seller’s] intent, and thus cannot be an offer for sale.”).

       Thus, the Infineon GMR S6 Data Sheet does not rise to a commercial offer for sale of

Siemens GMR 6 more than one year prior to August 29, 2001.

                               (3)     Tumanski Reference

       The Tumanski reference is a book published in 2001 about Thin Film Magnetoresistive

Sensors. On page 297, the book states that “in 1999 Siemens AG introduced into the market

magnetic sensors based on the GMR principle.” CSMF at ¶24; App. Ex. H at WD012666. No

additional information about which market the magnetic sensors were introduced into is provided

in the reference. The book further states that “not all details of this sensor are published.” Id.

Due to lack of any specificity and due to lack of any offer which the other party could make into

a binding contract, this document does not provide clear and convincing evidence about a




                                                -16-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 21 of 29



commercial offer for sale of the Siemens GMR 6 in the United States more than one year prior to

August 29, 2001.4

                               (4)    Article from the EE Times

       This document does not provide evidence of any specific commercial offer for sale that

would trigger the on-sale bar. There is no mention of the Siemens GMR 6 in the EE Times

Article. The EE Times Article merely states that “Siemens AG today said its semiconductor

spinoff will be called Infineon Technologies AG when it is officially formed on April 1[, 1999].”

See App. Ex. J. Thus, the Article from the EE Times does not rise to a commercial offer for sale

of Siemens GMR 6 more than one year prior to August 29, 2001.

                               (5)    Other references

       Western Digital does not appear to rely on any other references to show commercial offer

for sale in the United States more than one year prior to the filing date of the ’988 Patent, and

none of the other references used by Dr. Kryder in his expert report show commercial offer for

sale. The North Star Micro Electronics LLC Packing Slip only shows that 50 GMR S6 parts were

shipped to Latham and Watkins on October 18, 2016. See App. Ex. K. The Certificate of

Conformance dated 10/18/2016 merely states that “North Star Micro Electronics LLC maintains

records which will prove these materials are sourced from the correct manufacturer, or wholesale

source of the correct manufacturer.” See App. Ex. L. In other words, North Star at best

represents that the GMR 6 is a GMR 6, but offers no evidence relevant to an on-sale bar analysis.

   4
     Western Digital, in Dr. Kryder’s reply report, also cites to a two-page excerpt from
crcpress.com website showing a book available for sale entitled “Thin Film Magnetoresistive
Sensors” with a published date of June 8, 2001 to allegedly show the publishing date of the first
Tumanski reference. CSMF at ¶¶9, 28-31; App. Ex. I. This belatedly provided two-page
excerpt was not part of Dr. Kryder’s opening expert report. Nonetheless, it is just a cover page
and does not provide any information about the Siemens GMR 6 sensors themselves.
Publication of Tumanski does not rise to a commercial offer for sale of the GMR 6 sensors.




                                               -17-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 22 of 29



       Because none of the references cited by Western Digital show commercial offer for sale

by clear and convincing evidence, Western Digital has failed to prove that the Siemens GMR 6

was “the subject of a commercial offer for sale” in the United States more than one year prior to

August 29, 2001.

               5.      Western Digital Failed To Prove that the Analyzed Sample GMR
                       Product Corresponds to What Is Described in the Documents on
                       Which It Relies to Establish an On-Sale Date

       Western Digital does not allege that any of the GMR documents cited by Dr. Kryder are

in and of themselves anticipatory references, nor prior art to the ’988 Patent.5 Rather, Western

Digital only asserts that the GMR 6 Product that its counsel purchased in 2016 (15 years after the

priority date of the ’988 Patent and thus not itself prior art) includes the structure claimed in the

’988 Patent. In turn, Western Digital presents the patchwork of GMR documents in an effort to

show that what it tested in 2016 was sold or offered for sale or made in the United States

sometime before the filing of the patent.

       But Western Digital has not shown that the Sample GMR 6 Product it tested and

discussed in Dr. Sinclair’s report actually corresponds to products discussed in the earlier GMR

documents. Indeed, Western Digital’s testing undermines its theory.

       First, the number of layers and the overall thickness of the structure in the Sample GMR

Product analyzed by Western Digital differs from the number of layers and the thickness of the

structure discussed in the Siemens GMR Application Notes and Tumanski references. The

images from the reverse engineering performed on the Sample GMR Product indicate a presence

of at least 14 layers with a total thickness of 40nm. See App. Ex. M, Sinclair Opening Report

   5
     These high-level, conceptual documents undisputedly do not show every element of even
claim 1 of the ’988 patent (e.g., Western Digital’s experts do not opine that even the first claim
element after the preamble, “a substrate,” can be found in any of the cited documents).




                                                -18-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 23 of 29



¶¶ 34-37. The Siemens GMR Application Notes and Tumanski describe an 11-layer structure

with a total thickness of 25 nm. See App. Ex. F at WD233106; App. Ex. H at WD012666. They

cannot be the same.

       Second, the reverse engineering performed on the Sample GMR Product shows that it

does not match the diagrams shown in Figure 2 of the Siemens GMR Application Notes or in the

Tumanski reference. See App. Ex. F at WD233105; App. Ex. H at WD012666. Below is a

figure from Dr. Sinclair’s Opening Report, in which he alleges that the “STEM images for the

middle nine-layer section of the GMR S6 conform with the portion of the GMR 6 series layer

stack described in the Application Notes and Tumanski.”




See App. Ex. M, Sinclair Opening Report ¶ 38.

       However, Dr. Sinclair’s testing and analysis actually demonstrates that the “middle nine-

layer section” of the Sample GMR Product does not conform with the GMR 6 series layer stack

as described in the Siemens GMR Application Notes and Tumanski. Other images generated

from the STEM testing done at Dr. Sinclair’s direction show the presence of cobalt in two

additional locations in the layer stack that are not depicted or described in the GMR Application

Notes and Tumanski (or in Dr. Sinclair’s misleading side-by-side comparison). See App. Ex. M,

Sinclair Opening Report ¶ 32; Attachment C at 4. Both the color composite image of cobalt

                                              -19-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 24 of 29



isolated and the single line scan graph, which are included in Attachment C to Dr. Sinclair’s

Report, demonstrate the presence of cobalt next to both the top and bottom iron layers. Id. As

indicated in the single line scan graph, the additional cobalt is located at approximately 13.1 nm

and 25.3 nm on the horizontal scale. Id. However, there is no cobalt (Co) shown at those

locations in either the Siemens GMR Application Notes or the Tumanski reference. They cannot

be the same.

       In his reply report, Dr. Sinclair opines that if cobalt layers are included in the layer stack,

any “cobalt layer would also present the same growth orientations.” See App. Ex. N, Sinclair

Reply Report at ¶ 15. But that argument is immaterial. The presence of additional Cobalt layers

indicates that the tested sample does not match the structure depicted in the Siemens GMR

Application Notes and Tumanski references, on which Western Digital relies in its attempt to

establish an on-sale date.

       Third, the thickness of the individual layers in the Sample GMR Product is not uniform,

while the thickness of the individual layers in the Siemens GMR Application Notes and

Tumanski is. In the Sample GMR Product, the individual iron (Fe) layers shown in red are of

different thicknesses; the individual copper (Cu) layers shown in purple are of different

thicknesses; and, the individual cobalt (Co) layers shown in yellow are of different thicknesses.

See App. Ex. M, Sinclair Opening Report at ¶¶ 30-38. In the Siemens GMR Application Notes

and Tumanski, the two iron (Fe) layers have the same thickness, the four copper (Cu) layers have

the same thickness, and the three cobalt (Co) layers have the same thickness. See App. Ex. F at

WD233105; App. Ex. H at WD012666. They cannot be the same.

       Thus, since the Sample GMR Product does not correspond to the GMR products

described in the Siemens GMR Application Notes and Tumanski, Western Digital has failed to

demonstrate that the tested and analyzed Sample GMR 6 was sold or offered for sale more than


                                               -20-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 25 of 29



one year prior to the filing date of the patent, and thus LMS is entitled to summary judgment on

this defense.

                6.     Western Digital Also Did Not Prove Anticipation by Clear and
                       Convincing Evidence Under Sections 102(a) and 102(g)

       Under sections 102(a) and 102(g)(2), prior knowledge, use or invention will constitute

anticipation only if it occurs in this country. 35 U.S.C. § 102. The knowledge or use required by

§ 102(a) is public knowledge of a complete and operative device. See Johnson & Johnson, 436

F. Supp. at 711. As discussed above, since Western Digital has failed to provide clear and

convincing evidence of Siemens GMR 6 product being made, sold or offered for sale in the

United States at any point prior to the filing of the ’988 Patent, it follows that Western Digital

has also failed to show prior knowledge, use or invention in the United States before the priority

date of the ’988 patent.

       C.       LMS Is Entitled to Summary Judgment on Western Digital’s Affirmative
                Defenses of License and Unclean Hands and Its Withdrawn Defenses

       Western Digital has the burden of proof on its affirmative defenses. “The burden of

establishing an affirmative defense is on the party raising the defense.” Jazz Photo Corp., 264

F.3d at 1102, abrogated on other grounds by Impression Prod. Inc. v. Lexmark Int’l, Inc., 137 S.

Ct. 1523 (2017). From a review of the record, Western Digital has failed to adduce sufficient

evidence to support any of the noted defenses below.

                1.     License

       Western Digital did not adduce any evidence to support a defense that any of its products

were licensed by LMS. Western Digital’s affirmative defense is threadbare: “On information

and belief, [LMS’s] claims are barred in whole or in part by an express or implied license.

[LMS’s] claims are barred to the extent that Western Digital, HGST, and/or any entity whose

infringement Defendants allegedly induce or contribute to has an express or implied license to


                                                -21-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 26 of 29



practice one or more of the patents-in-suit.” Dkt No. 48 at 11. Western Digital does not identify

any specific licenses in this Affirmative Defense.




                                                                   This testimony is binding on

Western Digital. Univ. of Pittsburgh of Com. Sys. of Higher Educ. v. Varian Med. Sys., Inc.,

Case No. 08-01307, 2011 WL 10604064, at *13 (W.D. Pa. Dec. 30, 2011) (Rule 30(b)(6)

deponent’s testimony “constitutes an admission” by the corporation), aff'd in part sub nom. Univ.

of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Varian Med. Sys., Inc., 561 F. App’x

934 (Fed. Cir. 2014).




       Accordingly, there is an absence of evidence showing that Western Digital is entitled to

invoke a license defense, and summary judgment should be granted on that defense.

               2.       Unclean Hands

       Western Digital’s “Unclean Hands” defense is similarly defective. The sum total of

Western Digital’s evidence, so far as LMS is aware, is Western Digital’s allegation in its

Fifteenth Affirmative Defense: “On information and belief, all claims by [LMS] against Western

Digital are barred in whole or in part by the equitable doctrines of unclean hands.” Dkt. No. 48




                                              -22-
       Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 27 of 29



at 12. LMS is not aware of any evidence that would support this defense. Thus, summary

judgment should be granted on this defense.

               3.     Western Digital’s Withdrawn Affirmative Defenses

       Western Digital has withdrawn several affirmative defenses that were stated in its

Answer to the First Amended Complaint—including defenses of invalidity under 35 U.S.C.

§ 116 (as included in its Third Affirmative Defense), un-correctability of inventorship (Twelfth

Affirmative Defense), lack of standing (Thirteenth Affirmative Defense), and laches (Fourteenth

Affirmative Defense). See App. Ex. Q, March 30, 2018 email from Lauren Sharkey

(withdrawing defenses and noting Supreme Court abrogation of laches defense); App. Ex. R,

February 28, 2018 Supplemental Response to Plaintiffs Interrogatory No. 18, at 5 (stating

intention to withdraw Third Affirmative Defense). Western Digital has presented no expert

testimony on these defenses, and cannot raise a genuine issue of material fact supporting them.

Further, since Western Digital plead laches as an affirmative defense, the Supreme Court has

definitively held that it is not a defense to a claim of patent infringement. SCA Hygiene Prod.

Aktiebolag v. First Quality Baby Prod., LLC, 137 S. Ct. 954, 967 (2017) (“Laches cannot be

interposed as a defense against damages where the infringement occurred within the period

prescribed by § 286.”). Accordingly, Plaintiff respectfully requests entry of summary judgment

dismissing these affirmative defenses.

IV.    CONCLUSION

       For the foregoing reasons, Lambeth moves the Court to enter partial summary judgment

in its favor on Western Digital’s Third Affirmative Defense as to 35 U.S.C. §§ 102, 103, and

116, and summary judgment on Western Digital’s Tenth, Twelfth, Thirteenth, Fourteenth and

Fifteenth Affirmative Defenses.




                                              -23-
      Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 28 of 29




Dated: October 11, 2018                   Respectfully Submitted,

                                   /s/ Denise M. De Mory
                                   John W. McIlvaine, III
                                   Christian D. Ehret
                                   THE WEBB LAW FIRM
                                   One Gateway Center
                                   420 Ft. Duquesne Blvd., Suite 1200
                                   Pittsburgh, PA 15222
                                   T: (412) 471-8815
                                   F: (412) 471-4094
                                   jmcilvaine@webblaw.com
                                   cehret@webblaw.com

                                   Henry C. Bunsow
                                   Denise De Mory
                                   Craig Allison
                                   Christina M. Finn
                                   Dino Hadzibegovic
                                   BUNSOW DE MORY LLP
                                   701 El Camino Real
                                   Redwood City, CA 94063
                                   Telephone: (650) 351-7248
                                   Facsimile: (415) 426-4744
                                   hbunsow@bdiplaw.com
                                   ddemory@bdiplaw.com
                                   cfinn@bdiplaw.com
                                   callison@bdiplaw.com
                                   dhadzibegovic@bdiplaw.com

                                   Counsel for Plaintiff
                                   Lambeth Magnetic Structures, LLC




                                   -24-
          Case 2:16-cv-00541-CB Document 160 Filed 10/11/18 Page 29 of 29



                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 11th day of October, 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which sent notification to all counsel of

record.

                                                BUNSOW DE MORY LLP

                                                /s/ Denise M. De Mory
                                                Denise M. De Mory




                                                 -25-
